Case 1:05-cr-100lO-.]DT Document 21 Filed 05/06/05 Page 1 of 2 Page|D 22

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IN THE UNITED sTATEs DISTRICT CoURT 05” \ D,C.
FoR THE wEsTERN DISTRICT oF TENNESSEE ‘"~6 4,, 8_
EASTERN DivIsIoN 5 ' 3 7
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UNITED sTATEs oF AMERICA, %§HEFCJ§'D,§%£;
Plaimiff, "‘ t ~JACKSON '
Vs. NO. 05-10010-r
rED CARRoLL,
Defendant.

ORDER CONT[NUING TRIAL AND REPORT DATE
AND EXCLUDING DELAY

 

Upon motion of counsel for defendant Ted Carroll and for good cause shown, the report
date which is scheduled for May 10, 2005, and the trial date which is currently scheduled for
May 18, 2005, are hereby continued Defendant contends that additional time is needed for
preparation for the trial.

The court finds that the defendant’s need for a continuance for additional preparation
outweighs the best interests of the public and the defendant in a speedy trial; therefore, the ends
of justice will be served by granting a continuance in order to allow the defendant more time to
prepare for trial. Accordinalv. the trial is continued frorn Mav 18. 2005. to June 20. 2005. at
9:30 A.M. The resulting period of delay, from May 18, 2005, to June 20, 2005, is excluded
pursuant to 18 U.S.C. § 3161(h)(8)(A).

The report/motion date has been reset for June lO, 2005, at 9:15 a.m.

@/mw/)-M

J ES D. TODD
ITED STATES DISTRICT JUDGE

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DATE U

IT IS SO OR_DERED.

 

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 21 in
case 1:05-CR-100]0 was distributed by faX, mail, or direct printing on
May 9, 2005 to the parties listed.

 

 

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Honorable .l ames Todd
US DISTRICT COURT

